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EXHIBIT - HOKC Disambiguation
Honorable Order of Kentucky Colonels

Report & Analysis with News Articles: The Honorable Order of Kentucky
Colonels Began in September 1933

Introduction

This exhibit presents historic newspaper articles that provide irrefutable evidence that The
Honorable Order of Kentucky Colonels (HOKC) was officially established in September 1933. These
records disprove Plaintiff’s revisionist claims that the organization originated in 1813, 1931, or 1932.

I. The Honorable Order of Kentucky Colonels: A Term in the Public Domain

The phrase “Honorable Order of Kentucky Colonels” belongs to the public domain because it was
created by an elected official—Governor Ruby Laffoon—for public use by the Commonwealth of
Kentucky. Laffoon conceived the Kentucky Colonel title as part of a state order of merit during the
Great Depression, intending it to serve as a state revenue initiative.

   ●   In 1932, legislative proposals sought to tax the Kentucky Colonel title due to its increasing
       use.

   ●   Between 1933 and 1936, Governor Laffoon used the title as an honorary recognition while
       expanding its reach beyond the military.

   ●   Official records from 1941 confirm that Laffoon appointed over 10,000 Kentucky
       Colonels—far exceeding Plaintiff’s misleading claims of only 2,941 commissions.

Because the Honorable Order of Kentucky Colonels originated from an official state action, its
name and historical usage do not qualify for private ownership under copyright or trademark law.

II. Legal Basis for Public Domain Status

While Kentucky lacks a state statute identical to 17 U.S.C. § 105 (which places federal government
works in the public domain), multiple legal principles support the conclusion that this phrase and related
state-created materials belong to the public:

   ●   Kentucky Open Records Act (KRS 61.870–61.884)

           ○   This law establishes a public right of access to government-created records,
               reinforcing that state-authored materials are public property.

   ●   Kentucky Copyright Law & Federal Analogy
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           ○   Kentucky follows copyright principles similar to federal law, where
               government-generated works are generally not subject to private ownership or
               restriction.

   ●   Judicial Precedent on Public Records

           ○   Courts recognize that materials created by government officials for official
               purposes are public domain assets, freely accessible to all.

These principles demonstrate that Plaintiff’s claim to exclusive ownership over the phrase
“Honorable Order of Kentucky Colonels” is legally baseless.

III. Historical Context: The Evolution of “Kentucky Colonel” and HOKC

The newspaper articles in this exhibit confirm that HOKC did not exist before September 1933 and
that the Kentucky Colonel title evolved through distinct historical phases:

   1. 1933–1936: State Order of Merit

           ○   Governor Ruby Laffoon’s administration formalized the Kentucky Colonel title as a
               state honor and public fundraising initiative.

           ○   The Honorable Order of Kentucky Colonels during this time was a state-sanctioned
               honorary order, not a private membership group.

   2. 1933–1950: Private Association

           ○   In September 1933, a private social association under the same name was formed in
               New York City, maintaining an office in Lexington, Kentucky.

           ○   This group was not an official state entity and was separate from the governor’s
               original initiative.

           ○   In 1957, some of its key figures—notably J. Fred Miles—incorporated The Honorable
               Order of Kentucky Colonels, Inc. in Kentucky.

   3. 1957–Present: Modern Nonprofit Corporation

           ○   In 1957, the HOKC formally incorporated in Kentucky for the first time as a nonprofit.

           ○   By the 1980s, HOKC began engaging in commercial activities, selling Kentucky
               Colonel-branded memorabilia through the Pomperoser Catalog.

           ○   HOKC first appeared online in May 2001.

By outlining these distinct phases, this exhibit debunks Plaintiff’s false historical narrative and
establishes the public nature of the Kentucky Colonel tradition.
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IV. Key Findings from This Exhibit

These newspaper articles provide conclusive proof that:

   ●   HOKC did not exist in 1813, 1931, or 1932—it was founded in September 1933.

   ●   The organization’s first official dinner took place in 1934—not earlier.

   ●   HOKC was not a Kentucky-based corporation until 1957, contradicting Plaintiff’s claims of a
       continuous history.

   ●   HOKC did not engage in commercial activities in Kentucky until the 1980s.

This Exhibit establishes that the Kentucky Colonel title and phrase were widely recognized,
publicly used, and government-created—making them part of the public domain. Judicial notice
of these facts is warranted to prevent further historical misrepresentation by Plaintiff.


Article 1 - "The Honorable Order of Kentucky Colonels"
Opens Headquarters in New York City and in Lexington
"The Honorable Order of Kentucky Colonels," which is intended to bring together annually at
the Kentucky Derby in Louisville as many as possible of the several thousand persons holding
such commissions, has opened headquarters at 28 West Forty-fourth Street, New York City,
under the direction of General Charles C. Pettijohn, with Kentucky offices in the Strand theater
building, Lexington, under the direction of Col. Anna Bell Ward, who has been named
permanent secretary of the organization and keeper of the great seal of Kentucky Colonels.




The order, which has no dues, has been affected since last Derby day by Charles C. Pettijohn,
of New York, general counsel of the Motion Picture Producers and Distributors of America, who
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was promoted to the rank of "general" by Governor Laffoon at the Derby last year and
requested to prepare a roster for all active Kentucky Colonels and effect an organization.

According to the arrangements of officers in the order, Governor Laffoon is
commander-in-chief, and General Pettijohn commanding officer of the order. Other officers are
Admiral Louis McHenry Howe, Washington, D.C., "in charge of water activities;" Col. Will
Rogers, "commanded of all colonels west of the Mississippi river;" Col. Irvin B. Cobb,
"commander of all colonels east of the Mississippi river;" Col. Hoy Norr, Galveston, Texas,
"commander in charge of Gulf stream and Gulf ports;" Col. John Alcock, of New York,
"commander in charge of eastern waters and waterways;" Col. Felix Feist, Los Angeles, Calif.,
"commander in charge of western waters and waterways;" Col. Morton Downey, New York and
Chicago, "commander in charge of Great Lakes; Col. James A. Farley, Washington, D.C.,
"commander in charge of communications;" Col. William E. Rolley, Los Angeles, Calif., "judge
advocate;" Col. Thomas D. Taggart, French Lick, Ind., "commander in charge of charged
waters."

The following were named chaplains of the order: Rev. Harry Chillinton, Father Nicholas
Jagemanns, Father E.B. Bohrer, Father Joseph O'Dwyer and Father George L. Kampson, of
Kentucky; Rev. Ernest L. Wood, of Ohio, Rev. George Beik, of Tennessee, and Rev. L.M.
Ahlmann, United States of America.

The plan is to have the annual meeting and election of officers each year at the Derby in
Louisville. Present officers are to serve until the next annual election.

A roster of all active members of the order, which means all holding Kentucky commissions as
colonels, has been prepared in book form by General Pettijohn.

The motto of the order is "Let there be no more time than is necessary between drinks." The
insignia on the letter head of the stationery shows the head of a typical Kentucky colonel, a
running horse and a tall glass with a sprig of mint.

Citation: The Lexington Herald. (September 21, 1933). The Honorable Order of Kentucky
Colonels Opens Headquarters in New York City and in Lexington. Newspapers.com.
https://www.newspapers.com/article/the-lexington-herald-the-honorable-order/115569016/




NEW COLONELS BODY IS FORMED
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Article 2 - Lexington Woman Secretary of "Honorable
Order," Headquarters New York.
Lexington, Ky., Sept. 29. (AP) - The "honorable order of Kentucky Colonels,"
modestly announced as a world-wide society with headquarters in New York,
is the latest organization to spring from the wholesale commissioning of
honorary aides on the staffs of the Kentucky governor and lieutenant
governor.

Miss Anna Bell Ward, a young woman who, between times, manages a local
movie theater, is permanent secretary and keeper of the great seal, and she
announced Thursday that the New York headquarters, 28 West Forty-fourth
street, are under direction of Gen. Charles C. Pettijohn.

There already is a Kentucky Colonels' association with headquarters in
Louisville.

The purpose of the "new organization" was announced as designed to bring
together at the Kentucky Derby each May in Louisville all persons holding
Kentucky Colonels and other honorary military commissions, of which there
are at latest official reports 1,324 appointed by Gov. Ruby Laffoon and Lieut. Gov. A. B.
"Happy" Chandler, as well as more than 1,000 appointed under previous regimes. Six foreign
countries and all but seven American states are represented in the potential membership list of
the new organization.

Citation: "New Colonels Body is Formed" Newspapers.com,
Messenger-Inquirer, September 29, 1933,
https://www.newspapers.com/article/messenger-inquirer-new-colonels-body-is/115573397/




Article 3 - ‘Kentucky Colonels
Parade' Program Presented
Over National Radio Chain;
Many National Celebrities
Participate
Lexington participated last night in a nation-wide
Columbia Broadcasting System hook up that
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included programs from New York, Dallas, Philadelphia and Hollywood. The Kentucky portion
emanated from the University of Kentucky studios in the Art Center on Euclid avenue and
featured Gov. Ruby Laffoon in a talk, the University Philharmonic orchestra under the direction
of Prof. Carl A. Lampert in a medley of southern airs, and Annabelle Ward, secretary and
keeper of the great seal of Kentucky Colonels, in a vocal rendition of My Old Kentucky Home.

The program was entitled "Kentucky Colonels on Parade" and was produced as the
contribution of the Kentucky Colonels to the NRA. George Jessel, from the New York studios of
C. B. S., acted as master of ceremonies. Other talent on the program included Jean Harlow,
Clark Gable, Eddie Cantor, Freddie Rich's Orchestra, Jeannette McDonald, John Boles and
Stoopnogle and Budd.

An audience assembled in the University studios to hear Kentucky's contribution to the
program.

"The danger that now threatens our country is more imminent than an armed foe invading our
borders," Governor Laffoon said in his address calling on his "army" of Kentucky colonels to
support President Roosevelt's recovery program.

"In summoning these Kentucky colonels to the colors," said the governor, "I was convinced that
I had called to service the most distinguished group of men and women ever assembled in
peace time by a military order."

Citation: "Kentucky Colonels Parade' " Newspapers.com,
The Lexington Herald, November 29, 1933,
https://www.newspapers.com/article/the-lexington-herald-kentucky-colonels-p/115094625/




Article 4 - The Colonels are Coming, Hurrah
With the organization of “The Honorable Order of Kentucky Colonels” by “General” — or
Colonel — Charles C. Pettijohn, of New York, there appears to be as much possibility of
effective action as cohesion and discipline in this noble band of Kentucky-made “warriors” as in
any group of living men, and warm in its enthusiasm.

General Pettijohn, so designated by Governor Laffoon last Derby Day, has shown in the
organization of his army of colonels the same fine administrative capacity that he has
displayed as general counsel of the Motion Picture Producers and Distributors of America. And
he made a wise choice, if he is really serious about bringing order out of chaos among the
colonels, by the appointment of Col. Anna Bell Ward, of Lexington, as permanent “Secretary
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and Keeper of the Great Seal of Kentucky Colonels.” With Colonel Ward issuing commands,
“the Colonels” will have to step lively.

Perhaps no more interesting group of like numbers could be gathered together in any chosen
organization than in this one, considering the other officers of The Honorable Order of
Kentucky Colonels. They include Admiral Louis McHenry Howe, of Washington, D.C., “in
charge of water activities;” Col. Will Rogers, “commandant of all colonels west of the
Mississippi river;” Kentucky’s own Irvin S. Cobb, commandant of all colonels east of the
Mississippi river; Morton Downey, celebrated singer, commander in charge of Great Lakes;
James A. Farley, commander in charge of communication, who is none other than our nation’s
postmaster general, and Col. Thomas D. Taggart, of French Lick, Ind., commander in charge
of charged waters, to mention only a partial list of the distinguished officials.

It might be said in passing that Colonel Taggart, in charge of charged waters, is likely to be the
busiest officer on the grand headquarters staff, when the colonels move on the Kentucky
Derby next spring.

It is the plan of General Pettijohn to have a grand rally, a reunion and recall of the Colonels at
the Derby each spring, and then an election of officers for the ensuing year.

The motto of the order is: "Let us recall the ties that bind and be merry between now and
the next call to arms."

Citation: The Colonels Are Coming, Hurrah: Newspapers.com,
The Lexington Herald, September 21, 1933,
https://www.newspapers.com/article/the-lexington-herald/77801406/




Article 5 - Kentucky Ku'nels Organize
Wholesale Commissioning Of Honorary Aids Results In Modest "World-Wide Society."

Lexington, Ky., September 26—(AP) The "Honorable Order of Kentucky Colonels," modestly
announced as a world-wide society with headquarters in New York City, is the latest
organization to spring from the wholesale commissioning of honorary aides on the staff of the
Kentucky Governor and Lieutenant Governor.

Miss Anna Bell Ward, a young woman who between times manages a Lexington movie
theater, is permanent Secretary and keeper of the great seal, and she announced today that
the New York headquarters, 28 West Forty-fourth Street, is under the direction of General
Charles C. Pettijohn. There already is a Kentucky Colonels’ Association, with headquarters in
Louisville.
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The purpose of the new organization was
announced as designed to bring together at the
Kentucky Derby each May in Louisville all persons
holding Kentucky Colonel commissions, of which
there are at the latest official report 1,324 appointed
by Governor Laffoon and Lieutenant-Governor A. B.
(Happy) Chandler, as well as more than 600
appointed under previous regimes. Six foreign
countries and all but seven American states are
represented in the potential membership list of the
new organization.

Its officers, as announced here, are:

   ● Governor Laffoon, Commander-in-Chief
   ● Admiral Louis McHenry Howe, Washington,
     "in charge of Water Activities"
   ● Colonel Will Rogers, "Commander of all
     Colonels West of the Mississippi River"
   ● Colonel Irvin S. Cobb, "Commander of all
     Colonels East of the Mississippi River"
   ● Colonel Roy Norr, Galveston, Texas, "Commander in charge of Gulf Stream and Gulf
     Ports"
   ● Colonel John Alcock, New York, "Commander in charge of Eastern Waters and
     Waterways"
   ● Colonel Felix Feist, Los Angeles, Calif., "Commander in charge of Western Waters and
     Waterways"
   ● Colonel Morton Downey, New York and Chicago, "Commander in charge of Great
     Lakes"
   ● Colonel James A. Farley, Washington, "Commander in charge of Communications"
   ● Colonel William E. Reiley, Los Angeles, "Judge Advocate"
   ● Colonel Thomas D. Taggart, French Lick, Ind., "Commander in charge of Charged
     Waters"

Chaplains:

   ●   Rev. Harry Chillington
   ●   Father Nicholas Judermann
   ●   Father E. B. Rohrer
   ●   Father Joseph O’Dwyer
   ●   Father George Sampson, all of Kentucky
   ●   Rev. Delk, Tennessee
   ●   Rev. I. M. Ahmann, United States of America
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Citation: "Kentucky Ku'nels Organize" Newspapers.com,
The Cincinnati Enquirer, September 27, 1933,
https://www.newspapers.com/article/the-cincinnati-enquirer-kentucky-kunels/115578370/




Article 6 - Kentucky Colonel, 1933 Style, Puts the
Goatee into Discard
(Associated Press)
 LEXINGTON, Ky., Nov. 6— With numbers comes
variety, and therein lies the story of the Kentucky
"Colonel," a title that is evolving beyond its
traditional identity as a gentleman with a white
goatee, broad hat, and love of horseflesh.

The latest count shows about 3,000 Kentucky
Colonels across 42 states, appointed thanks to
the generosity of Governor Ruby Laffoon and his
predecessors.

Tradition Put Aside

Many recipients never set foot in Kentucky, and
some regard the goatee as nothing more than a
costume accessory for a masquerade ball.

Departing from the old-fashioned image, the
Honorable Order of Kentucky Colonels now
has a woman as its secretary and keeper of the
great seal—Miss Anna Bell Ward, a figure from
Hollywood and Broadway. Additionally, the famous
actress Mae West has proudly claimed the title.

The organization has also appointed Irvin S.
Cobb as "commander" of all Colonels east of
the Mississippi and Will Rogers as commander
in the west.

Pettijohn as ‘General’
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At the top of the organization is Charles C. Pettijohn of New York, serving as "General."
Other notable members include:

   ●   Louis McHenry Howe (President Roosevelt’s secretary),
   ●   Col. Roy Nor of Galveston, Texas,
   ●   Col. John Allcoate of New York,
   ●   Col. Felix Feist of Los Angeles,
   ●   Morton Downey of New York,
   ●   James A. Farley (Postmaster General),
   ●   William E. Reiley of Los Angeles, and
   ●   Thomas D. Taggart of French Lick, Indiana.

"General" Pettijohn and Miss Ward have announced plans for an official gathering of all
Kentucky Colonels at the Kentucky Derby in Louisville next May.

Citation: Newspapers.com, Pampa Daily News, November 6, 1933,
https://www.newspapers.com/article/pampa-daily-news/77801327/

Newspaper article from the Pampa Daily News (November 6, 1933), describing the
modernization of the Kentucky Colonel tradition. It highlights the leadership of Charles C.
Pettijohn, the appointment of women such as Anna Bell Ward to key roles, and the
involvement of Hollywood figures like Mae West. The article details efforts to unite the
honorary Kentucky Colonels and hold a banquet at the upcoming Kentucky Derby.




Article 7 - State Colonels Have Increased Under Laffoon
Sewell Says the Cost of Gold Sealed Commissions Has Been Justified

FRANKFORT, Ky., March 29—(AP)—Despite a hard winter in the Bluegrass state, there has
been a record crop of Kentucky Colonels.

As popular as Kentucky lamb chops, bourbon whiskey, burley tobacco, and
thoroughbred horses, the blue-ribboned, gold-sealed commissions have gone out from
the office of Governor Ruby Laffoon during the winter months to more than 500 persons in
far-flung sections of the land. In the list were sprinkled few admirals, commodores, captains,
and other titles.

The latest crop brought the grand total of Kentucky Colonels under Laffoon's
administration to 1,532, pushing the state's historical total over the past 20 years to 3,226.
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All Records Shattered

The flood of honorary titles began in 1931, when Laffoon took office, and increased as his
Lieutenant Governor, A. B. Chandler, also began issuing commissions in 1932.

At first irked by the number of demands made upon him for commissions, Governor Laffoon
soon found there was no danger of offending anyone and responded by issuing record
numbers of Kentucky Colonel appointments.

His predecessor, Governor Flem D. Sampson, had held the previous
record of 677 honorary aids.

     "In summoning these Kentucky Colonels to the colors," said
     Laffoon, "I am calling to the colors a distinguished group of men
     and women, chosen not by accident nor by a military order."

A state inspector, B. Sewell, examined the cost of issuing Kentucky
Colonel commissions and found that each one required twenty and
one-fourth cents for the gold seal, ribbon, and parchment paper.

     "I believe the public in general will concur in the opinion that this
     expenditure is fully justified, in satisfaction, if not in service."

He further remarked that "it is an assumption that the staff of the
chief executive of the commonwealth of Kentucky is the most
democratic quasi-military organization in the world."

     "Practically every industry, profession, and avocation is
     represented," he said. "Neither minimum nor maximum age is
     considered. No qualifications are prescribed, no duties are
     assigned, and no restrictions are imposed upon honorary
     officers."

Expanding Influence of the Kentucky Colonels

With the multiplying of colonels, two organizations composed of
these honorary officers have sprung up.

The Kentucky Colonels’ Association, organized last fall, held a
banquet in Louisville.
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The Honorable Order of Kentucky Colonels, with headquarters in New York, was
organized last fall under the direction of General Charles C. Pettijohn.

Among the recent additions to the ranks of Kentucky Colonels are:

   ●   Jeannette MacDonald (New York City)
   ●   Don and R. B. Richey (Washington)
   ●   Jack Reynolds (Cincinnati)
   ●   Little Jackie Little (New York)
   ●   Charley "Buddy" Rogers (Hollywood)
   ●   Rudy Vallée (New York)
   ●   Lowell Thomas (New York)

Description: Newspaper article from The Paducah Sun (March 29, 1934), detailing
Governor Ruby Laffoon’s significant increase in Kentucky Colonel commissions. The article
highlights how the honorary title transitioned into a quasi-official ambassadorial role and
became widely issued. State Inspector B. Sewell justified the cost of commissions,
emphasizing their symbolic and goodwill value. The article also documents the establishment
of various Kentucky Colonel organizations and notable recipients, including Hollywood stars
and public figures.




Article 8 - No More Goatees
Honorable Order of Kentucky Colonels to
Give the Barbers a Break

LOUISVILLE, Ky., May 5—(AP)—The
Honorable Order of Kentucky Colonels went
under an NRA code today. It provides that no
colonel shall pay more than 25 cents for a
mint julep, that no one shall be a colonel
hereafter who has not seen a horse race, and
that no colonel shall wear a goatee lest it
cause unemployment among barbers.

At the first annual banquet of the order last
night, Gov. Ruby Laffoon announced that Col.
John Alicoate, editor of The Film Daily, New
York, would succeed Gen. Charles C. Pettijohn,
secretary of the Association of Motion Picture
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Producers and Distributors of America, as commander-in-chief of all Kentucky Colonels
in America.

Gov. Laffoon announced he intended to appoint a million colonels in the next year, so as to
obtain their votes when Col. Franklin D. Roosevelt "becomes tired of being president."

The guest of honor at the banquet was Col. James A. Farley, postmaster general, who was
accompanied by Col. Emil Hurja, vice chairman of the Democratic National Committee.
Two hundred Kentucky Colonels from many states of the Union attended the first meeting.

As a compromise in the argument as to whether the mint in a mint julep should be
crushed or left intact, the Kentucky hotel management provided juleps that had crushed
mint in the bottoms of the glasses and uncrushed mint at the tops.

Adoption of the NRA code was the principal order of business at the meeting. Gov.
Laffoon, in his address, reiterated that he was "one of the driest of the drys, but I have had
18 drinks today and every one of them tasted the best."

Exhibit: Newspaper article from Dayton Daily News (May 5, 1934), documenting the first
annual banquet of the Honorable Order of Kentucky Colonels. The article humorously
describes new honorary rules, including restrictions on goatees, requirements to attend horse
races, and price limits on mint juleps. Governor Ruby Laffoon announced plans to appoint a
million Kentucky Colonels for political leverage and welcomed high-profile guests such as
Postmaster General James A. Farley. The event highlighted the organization's evolving role in
social and political spheres, particularly within the Democratic Party.

Citation: "No More Goatees" Newspapers.com,
Dayton Daily News, May 5, 1934,
https://www.newspapers.com/article/dayton-daily-news-no-more-goatees/115571673/




Article 9 - Kentucky Is Back to Normal State After Many
Years; Fine Horses, Beautiful Women And Good Liquor
There
Louisville, Ky., May 4—(AP)—Superb thoroughbreds, beautiful women, and fine whisky, the
triad for which the Blue Grass State is famous, will come into their own again tomorrow at the
sixtieth running of the Kentucky Derby, the race that annually launches the battle for the
three-year-old championship among racehorses.
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The mint julep and whisky—both missing from the Derby scene for 15 years because of
prohibition—are legal again and will lend zest to Kentucky’s day of days for those who
regard consolation for betting losses or the cup that cheers to add gayety to the renewal
of old friendships.

There is no doubt as to the quality of the horseflesh that will parade to the post in the
famous race, and few will dispute the Kentuckian’s contention that the charm of display at
the Derby can be matched nowhere for beauty and attractiveness.




Tonight Louisville presented its Derby Eve carnival, with thousands of visitors celebrating in
scenes of parties, not a few among those gathered the first members of the Honorable
Order of Kentucky Colonels. They were packed into the hotels, where the password of
Kentucky’s colonels, whose motto is “Let there be no more time than necessary between
mint juleps”, was often heard.

Those whose souls are stirred by fisticuffs, as well as by horse races, attended a
featherweight championship boxing match, the first legal title bout in Kentucky’s
history.

A riot for the home-town boxers and men they invited to the downtown district, where
motorists turned the streets amid scenes of tooting horns and waving acquaintances,
for this is the local method of celebrating as much as Christmas Eve, New Year’s Eve, and
Derby Eve—by making noise.

Although the thoroughbred race will be the king tomorrow, Louisville itself finds itself
relegated to the side streets in the busiest town in America. Unsympathetic police have
decreed that horse-drawn vehicles must stay off the main streets because of the heavy
motor traffic to Churchill Downs.
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That the traffic will be heavy is attested by a sell-out of box and reserved seats for the
Derby, and hotels are filled to capacity. Every household in the area is booked, with
moochers riding magnates in the betting lanes, and every Kentuckian showing his pride
in any Kentucky man's Mardi Gras.

One of the early arrivals today was Col. James A. Farley, Postmaster General, who is a
confirmed Derby-goer and hand better. A party of... (article continues on next page, not
visible in image).

Exhibit: Newspaper article from The Cincinnati Enquirer (May 5, 1934), describing the
sixtieth running of the Kentucky Derby and the role of the Honorable Order of Kentucky
Colonels. The article highlights the return of legal alcohol following Prohibition, the festive
atmosphere of Derby Eve, and the prominence of the Kentucky Colonels in social gatherings.
It also details the city's traditions, traffic congestion, and notable attendees such as Postmaster
General James A. Farley. The event reflects Kentucky's deep-rooted cultural heritage and the
Colonels' role in the Derby celebrations.

Citation: Newspapers.com, The Cincinnati Enquirer, May 5, 1934,
https://www.newspapers.com/article/the-cincinnati-enquirer/77802713/




Article 10 - Battle of Colonels Now On in Kentucky
Governor Laffoon and Lieut.-Gov. Chandler Commission 1,240 Colonels, Admirals and
Other Officers in Friendly Rivalry.

Frankfort, Ky., June 9—(AP)—A friendly rivalry has developed between Governor Ruby
Laffoon and Lieut. Gov. A. B. (Happy) Chandler over the appointment of Kentucky colonels.

Between them, they have commissioned 1,240 honorary colonels, admirals, rear admirals,
captains, and officers of lesser ranks to date.

When friends of the chief executive josh him about the large number of colonels he has
commissioned, he remarks, “I'm still several behind Happy.” And when the lieutenant
governor’s friends remind him of his many colonels and admirals, he counters, “Governor
Laffoon can appoint colonels every day. I have had only a few days at it.”

Governor Ten Up

The official count, however, shows the governor is ten up on Mr. Chandler as acting governor.
Governor Laffoon has commissioned 625 honorary aides and Mr. Chandler on the four
occasions he has served as acting governor has named 615.
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The lieutenant governor may get a chance to catch up, as it is rumored the governor is
considering a trip to the world’s fair at Chicago this summer.

Both the governor and the lieutenant governor have
shattered the record set by former Governor Flem D.
Sampson during his four-year term. When Mr. Sampson
left office in December of 1931 he had a few more than
600 colonels and honorary aides.

The question whether colonels’ commissions issued by
former governors still hold good has been raised
frequently, but the answer to it is the slogan of the
Kentucky Colonels’ Association, “once a Kentucky colonel
always a colonel.” This association, formed two years ago,
has its insignia, constitution, and code of ethics.

A study of the whole colonel question is now being made
by Nat B. Sewell, state inspector and examiner. It will
include a compilation of all the Kentucky colonels made
within the last 25 years. It is expected to show Kentucky
has more honorary colonels than members of its state
militia.

Had to Yield

When Governor Laffoon took office a year and a half ago,
he indicated he would go sparingly on the appointment of
colonels, commenting that his predecessor had overlooked
no one. But he eventually had to yield to the pressure
Kentucky governors and acting governors have been
subjected to for the past decade in this matter of colonels.
Hundreds of letters, telegrams, and telephone calls and
personal visits from politically influential individuals
importuned him to appoint colonels. So a few colonels
appointed each day soon mounted up, although not all
those recommended were commissioned.

It is estimated that about 3,000 colonels, admirals, and other honorary officers have been
appointed in the last quarter of a century—there is an admiral for nearly every stream and lake
in the state. During the famous drought of 1930 some admirals were left high and dry when the
streams they commanded folded up.
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Twenty-five years ago a Kentucky colonel was known by his characteristic goatee,
broad-brimmed felt hat and, perhaps, his mint julep. A governor appointed 12 colonels at the
most and they were supposed to don uniforms and gold braid for occasions of state. But the
army of colonels today takes in men, women, and children.

Miss Ara W. Mahan, secretary of state, estimates that the maximum cost of commissioning a
colonel is 25 cents, including the postage for mailing the blue-ribboned, gold-sealed
commission. She has effected an economy in purchasing at wholesale the blue ribbon that
goes on the commissions. It takes about one-third of a yard of ribbon for each commission.
Purchased at retail, this ribbon formerly cost 20 cents a yard, but it is now bought at six cents a
yard, making the price of ribbon per colonel about two cents.

A bill to tax Kentucky colonels at $100 a head was introduced at the 1932 session of the state
legislature. It was estimated that at the modern rate of production the tax would yield about
$100,000. The bill was offered, however, merely as good, clean fun on the part of the law
makers to show a short-age in gold braid, and no serious attempt ever has been made to tax a
Kentucky colonel.

Former Governor Sampson started the custom of honoring celebrities by naming them
Kentucky colonels. Prominent among his colonels were Clarence D. Chamberlin, Bebe
Daniels, Mrs. Ruth Hanna McCormack, Uldine Utley, evangelist; the late Knute Rockne, and
Earl Combs, baseball player.

Gardner on Staff

Governor Laffoon’s staff also has its celebrities, including Paul Whiteman, former Governor
Harry F. Byrd of Virginia; former Governor O. Max Gardner of North Carolina; Al Jolson, Jack
Dempsey, Eddie Cantor, George Jessel, William Randolph Hearst "of the United States,"
William Randolph Hearst, Jr., of New York, Hoot Gibson, Tom Mix, Ken Maynard, and Monte
Blue.

James A. Farley, postmaster general, is a colonel on the staffs of both Governor Laffoon and
acting Governor Chandler. Other celebrities on Mr. Chandler’s staff are William T. Tilden, Louis
Howe, and Alvin C. York.




This article provides valuable historical context on the Kentucky Colonelcy before the
Honorable Order of Kentucky Colonels (HOKC) was founded, including the proposal for a tax
on the title.
